Case 18-05077-jwc      Doc 10        Filed 10/17/18 Entered 10/17/18 07:29:19            Desc Main
                                     Document Page 1 of 4




  IT IS ORDERED as set forth below:



   Date: October 16, 2018
                                                       _________________________________

                                                                Jeffery W. Cavender
                                                           U.S. Bankruptcy Court Judge

 ________________________________________________________________


                    UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

  IN RE:                                            CASE NO. 17-56316-JWC

  JULIAN SYNERR ARNOLD and STACEY                   CHAPTER 13
  ENITA ARNOLD,

                        Debtors.


  TAARIQ HEAVEN,                                    ADVERSARY PROCEEDING NO.
                                                    18-5077-JWC
                        Plaintiff,
  v.

  JULIAN SYNERR ARNOLD,

                        Defendant.


              ORDER TO SHOW CAUSE WHY DEBTOR’S COUNSEL,
            TALITHA FLEMING, SHOULD NOT BE HELD IN CONTEMPT

       THIS MATTER is before the Court sua sponte. Julian Synerr Arnold (“Debtor” or

“Defendant”) filed a joint chapter 13 bankruptcy case with Stacey Enita Arnold on April 4, 2017.

Taariq Heaven (“Plaintiff”) filed the Complaint to Determine Debt Nondischargeable and to

                                                1
Case 18-05077-jwc        Doc 10     Filed 10/17/18 Entered 10/17/18 07:29:19              Desc Main
                                    Document Page 2 of 4


Object to Debtor’s Discharge on April 12, 2018 seeking to except from Defendant’s discharge

damages resulting from payment to Defendant for contracting work pursuant to 11 U.S.C. §

523(a)(3) and (a)(2), (a)(4), and (a)(6) (the “Complaint”) (Doc. No. 1). Plaintiff filed a certificate

of service showing service of the summons and Complaint upon Defendant on April 13, 2018

(Doc. No. 4). Defendant did not answer or otherwise respond, and Plaintiff filed a Motion for

Default Judgment seeking entry of default and default judgment pursuant to Fed. R. Bankr. P. 7055

on May 25, 2018 (Doc. No. 5). The clerk entered default against Defendant on June 1, 2018.

Defendant did not file a response to the Motion for Default Judgment.

       The Court entered an order on September 19, 2018 denying default judgment as to both

counts of the Complaint, and setting a status conference for hearing on Tuesday, October 16, 2018

at 10:00 a.m. in Courtroom 1203, United States Courthouse, 75 Ted Turner Drive, SW, Atlanta,

Georgia (the “Status Hearing”).

       As stated in that order, General Order 18-2015, applicable to Defendant’s lead case as it

was filed prior to December 1, 2017, provides that “[a]ttorneys representing debtors in Chapter 13

cases must represent the debtor in all matters related to the case which affect the debtor’s interests

unless the attorney is permitted to withdraw by order of the court.” General Order 18-2015, ¶ 1.

Further, Bankruptcy Local Rule 9010-4 states that “an attorney who files a petition initiating a

case on behalf of a debtor … shall represent the debtor in all matters in the case, including contested

matters and adversary proceedings, unless the Bankruptcy Court permits the attorney to withdraw

in accordance with BLR 9010-5.” Bankruptcy Local Rule 9010-5, in turn, provides that “[a]n

attorney who has appeared in a case or adversary proceeding … must obtain permission from the

Bankruptcy Court to withdraw as counsel, unless substitute counsel has made an appearance for

that party.” Although Defendant’s counsel in his lead case has not specifically made an appearance



                                                  2
Case 18-05077-jwc       Doc 10     Filed 10/17/18 Entered 10/17/18 07:29:19             Desc Main
                                   Document Page 3 of 4


for Defendant in this adversary proceeding, neither has counsel sought permission from this Court

to withdraw.

       Because of the requirements of the Local Rules and General Order 18-2015, and because

the prospect of a nondischargeable judgment of over $65,000 against Defendant certainly affects

his interests, the Court ordered Defendant’s counsel in his lead case, Talitha Fleming, to appear at

the Status Hearing. That order was served via United States first class mail on Talitha S. Fleming

at T. Fleming & Associates, LLC, Suite 180, 4751 Best Road, Atlanta, GA 30337. Talitha Fleming

failed to appear at the Status Hearing despite this Court’s order that she appear. Accordingly,

       IT IS ORDERED that Debtor’s counsel, Talitha S. Fleming, appear before the Court on

Tuesday, October 23, 2018 at 10:30 A.M., in Courtroom 1203, United States Courthouse, 75 Ted

Turner Drive SW, Atlanta, Georgia, to show cause why she should not be held in contempt and/or

sanctioned for failing to appear at the Status Hearing.

                                     END OF DOCUMENT




                                                 3
Case 18-05077-jwc     Doc 10    Filed 10/17/18 Entered 10/17/18 07:29:19   Desc Main
                                Document Page 4 of 4


                                     Distribution List

Julian Synerr Arnold
1995 Evergreen Drive SE
Conyers, GA 30013

Stacey Enita Arnold
1995 Evergreen Drive SE
Conyers, GA 30013

Talitha S. Fleming
T. Fleming & Associates, LLC
Suite 180
4751 Best Road
Atlanta, GA 30337

Taariq Heaven
c/o Brookhuis Law LLC
125 East Trinity Place
Suite 306
Decatur, GA 30030

John Gerard Brookhuis
Brookhuis Law, LLC
PO Box 17919
Atlanta, GA 30316

Nancy J. Whaley
Nancy J. Whaley, Standing Ch. 13 Trustee
303 Peachtree Center Avenue
Suite 120, Suntrust Garden Plaza
Atlanta, GA 30303




                                            4
